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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

      UNITED STATES OF AMERICA,                           §
                                                          §
            Plaintiff,                                    §
                                                          §
      v.                                                  §              Crim. No. 4:20-cr-212-ALM-KPJ
                                                          §
      DEBRA LYNN MERCER-ERWIN (1)                         §
      and KAYLEIGH MOFFETT (2),                           §
                                                          §
            Defendant.                                    §


                                                     ORDER

           Pending before the Court are the following: Defendant Debra Lynn Mercer-Erwin’s

  (“Defendant Mercer-Erwin”) Motion to Suppress Certain Statements of Defendant (the “Mercer-

  Erwin Motion to Suppress”) (Dkt. 321); Defendant Kayleigh Moffett’s (“Defendant Moffett”)

  Unopposed Motion for Leave to File a Motion to Suppress that Exceeds 15 Pages (the “Motion

  for Leave”) (Dkt. 323); and Defendant Moffett’s Motion to Suppress and Request for a Franks

  Hearing (the “Moffett Motion to Suppress”, and together with the Mercer-Erwin Motion to

  Suppress, the “Motions to Suppress”) (Dkt. 324).1

           On March 7, 2023, the Court held a telephonic conference with the parties and proposed

  briefing and objections period deadlines. See Dkt. 328. The Court advised the parties that, given

  the trial is set for April 10, 2023 (Dkt. 316), the Court finds it necessary to expedite briefing on

  the Motions to Suppress (Dkts. 321, 324) and the objections period to the Report and

  Recommendations as to the Motions to Suppress (Dkts. 321, 324). See Dkt. 328. The parties




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   The Motions to Suppress (Dkts. 321, 324) were referred to the undersigned on March 6 and March 7, 2023. See Dkts.
  322, 327.

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      represented to the Court that they agreed to the proposed deadlines for briefing and the objections

      period. See id.

             IT IS ORDERED that the Motion for Leave (Dkt. 323) is GRANTED and the Moffett

      Motion to Suppress (Dkt. 324) is deemed filed.

.            IT IS ORDERED that the Government shall file responses to the Motions to Suppress

      (Dkts. 321, 324), if any, no later than March 17, 2023; Defendant Mercer-Erwin and Defendant

      Moffett shall file replies, if any, no later than March 23, 2023; and the parties shall file objections

      to the Court’s Report and Recommendations, if any, no later than April 6, 2023.

              So ORDERED and SIGNED this 7th day of March, 2023.




                                                      ____________________________________
                                                      KIMBERLY C. PRIEST JOHNSON
                                                      UNITED STATES MAGISTRATE JUDGE




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